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 PROPOSED COUNSEL FOR
 DEBTOR AND DEBTOR-IN-POSSESSION

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 IN RE:                                               §             CHAPTER 11
                                                      §
 NAVARRO PECAN COMPANY, INC.,                         §             CASE NO. 23-40266-elm11
                                                      §
            Debtor. 1                                 §
                                                      §

              GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
      METHODS, AND DISCLAIMERS REGARDING THE DEBTOR’S SCHEDULE
      OF ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

        The above-captioned debtor and debtor-in-possession (the “Debtor”), by and through its
 undersigned proposed counsel, is filing its Schedule of Assets and Liabilities (the “Schedules”)
 and Statement of Financial Affairs (the “SOFA”) in the above-captioned case filed in the United
 States Bankruptcy Court for the Northern District of Texas, Fort Worth Division (the
 “Bankruptcy Court”). The Debtor prepared the Schedules and SOFA in accordance with section
 521 of Title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal
 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

        These Global Notes and Statement of Limitations, Methods, and Disclaimers Regarding
 the Debtor’s Schedules of Assets and Liabilities and Statement of Financial Affairs (collectively,
 the “Global Notes”) are incorporated by and comprise an integral part of the Schedules and SOFA.

 1
   The Debtor’s principal address is 4200 South Hulen Street, Suite 680, Fort Worth, Texas 76109. The Debtor’s
 facilities are located at 2131 East Highway 31, Corsicana, Texas 75109.



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 These Global Notes should be referred to and reviewed in connection with any review of the
 Schedules and SOFA.

          The Schedules and SOFA have been prepared by the Debtor’s management and are
 unaudited and subject to further review and potential revision. In preparing the Schedules and
 SOFA, the Debtor relied on financial data derived from its books and records as it was available
 at the time of preparation. The Debtor’s management and advisors have made reasonable efforts
 to ensure that the Schedules and SOFA are as accurate and complete as possible under the
 circumstances. Subsequent information or discovery, however, may result in material changes to
 the Schedules and SOFA, and inadvertent errors or omissions may exist. Notwithstanding any such
 discovery or new information however, the Debtor may, but shall not be required to, update the
 Schedules and SOFA.

         Reservation of Rights: Nothing contained in the Schedules and SOFA or these Global
 Notes shall constitute a waiver of the Debtor’s rights or an admission with respect to its bankruptcy
 case, including, but not limited to, any issues involving objections to claims, substantive
 consolidation, equitable subordination, defenses, characterization or recharacterization of
 contracts, assumption or rejection of contracts under the provisions of Chapter 3 of the Bankruptcy
 Code, or causes of action arising under the provisions of Chapter 5 of the Bankruptcy Code or any
 other relevant applicable laws to recover assets or avoid transfers.

         Description of the Case and “as of” Information Date: On January 30, 2023 (the
 “Petition Date”), the Debtor filed a petition for relief with the Bankruptcy Court under chapter 11
 of the Bankruptcy Code. A detailed description of the Debtor, its business, and the facts and
 circumstances supporting the Schedules and SOFA and the chapter 11 case are described in detail
 in the Declaration of Brad Walker in Support of the Debtor’s Chapter 11 Petition and First Day
 Motions, which was filed on the Petition Date.

        Given the nature of the case and the Debtor’s assets, the valuations given are estimates at
 varying points in time. This is because those values fluctuate over time and, given the nature of
 the Debtor’s business and its assets and liabilities, the Debtor is presenting these filings in its best
 attempt to “mark to market” the types of assets it owns in each category of assets and liabilities.

         Amendment: Although reasonable efforts were made to file complete and accurate
 Schedules and SOFA, inadvertent errors or omissions may exist. Thus, the Debtor reserves all
 rights, but shall not be required, to amend or supplement its Schedules and SOFA from time to
 time as may be necessary or appropriate.

        Basis of Presentation: Although these Schedules and SOFA may, at times, incorporate
 information prepared in accordance with generally accepted accounting principles (“GAAP”), the
 Schedules and SOFA do not purport to represent or reconcile financial statements otherwise
 prepared or distributed by the Debtor in accordance with GAAP, income tax basis, or otherwise.
 To the extent that the Debtor shows more assets than liabilities, this is not an admission that the
 Debtor was solvent or insolvent on the Petition Date or at any time prior to the Petition Date.
 Likewise, to the extent that the Debtor shows more liabilities than assets, this is not an admission




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 that the Debtor was solvent or insolvent on the Petition Date or at any time prior to the Petition
 Date.

       Insiders: For purposes of the Schedules and SOFA, the term “Insider” shall have the
 meaning set forth in Section 101(31) of the Bankruptcy Code.

         Persons listed in the SOFA as insiders have been included for only informational purposes.
 The Debtor does not take any position with respect to (a) such person’s influence over the control
 of the Debtor; (b) the management responsibilities or functions of such individual; (c) the decision-
 making or corporate authority of such individual; or (d) whether such individual could successfully
 argue that he or she is not an insider under applicable law, including, without limitation, the federal
 securities laws, or with respect to any theories of liability or for any other purpose.

         Recharacterization: The Debtor has made reasonable efforts to correctly characterize,
 classify, categorize, and designate the claims, assets, executory contracts, unexpired leases, and
 other items reported in the Schedules and SOFA. The Debtor reserves all rights to recharacterize,
 reclassify, recategorize, and redesignate items reported in the Schedules and SOFA at a later time
 as is necessary or appropriate as additional information becomes available, including, without
 limitation, whether contracts listed herein were executory as of the Petition Date or remain
 executory post-petition and whether leases listed herein were unexpired as of the Petition Date or
 remain unexpired post-petition.

        Summary of Significant Reporting Policies:

         Current Market Value and Net Book Value: In many instances, current market valuations
 are neither maintained, nor readily ascertainable, by the Debtor. The Debtor has used its best efforts
 to estimate the assets value or provided that the value is unknown.

        Liabilities: Unless otherwise indicated, all liabilities are listed as of the Petition Date.

         Credits and Adjustments: The claims of individual creditors are listed as the amounts
 entered on the Debtor’s books and records and may not reflect credits, allowances, or other
 adjustments due from such creditors to the Debtor. The Debtor reserves all rights with regard to
 such credits, allowances, and other adjustments, including the right to assert claims objections
 and/or setoffs with respect to the same.

        Undetermined Amounts. The description of an amount as “unknown,” “TBD,” or
 “undetermined” is not intended to reflect upon the materiality of such amount.

         Totals: All totals that are included in the Schedules and SOFA represent totals of all
 currently known amounts included in the Debtor’s books and records as of the Petition Date. To
 the extent that there are undetermined amounts, the actual total may be different from the listed
 total.

         Classifications: Listing a claim (a) on Schedule D as “secured,” (b) on Schedule E as
 “priority,” or (c) on Schedule F as “unsecured priority,” or listing a contract or lease on Schedule



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 G as “executory” or “unexpired” does not constitute an admission by the Debtor of the legal rights
 of the claimant or a waiver of the Debtor’s right to recharacterize or reclassify such claim, contract,
 or lease.

         Claims Description: Any failure to designate a claim on a given Schedules as “disputed,”
 “contingent,” or “unliquidated” does not constitute an admission by the Debtor that such amount
 is not “disputed,” “contingent,” or “unliquidated.” The Debtor reserves all rights to dispute, or to
 assert any offsets or defenses to, any claim reflected on its respective Schedules on any grounds,
 including, without limitation, amount, liability, validity, priority, or classification, or to otherwise
 subsequently designate any claim as “disputed,” “contingent,” or “unliquidated.” Listing a claim
 does not constitute an admission of liability by the Debtor, and the Debtor reserves the right, but
 shall not be required, to amend the Schedules accordingly.

         Guarantees and Other Secondary Liability Claims: The Debtor has used reasonable efforts
 to locate and identify guarantees and other secondary liability claims (collectively, the
 “Guarantees”) in its executory contracts, unexpired leases, secured financing, debt instruments,
 and other such agreements. The Debtor’s review of its contracts in such regard is ongoing. Where
 such Guarantees have been identified, they have been included in the relevant Schedule for the
 Debtor. Further, certain Guarantees embedded in the Debtor’s executory contracts, unexpired
 leases, secured financings, debt instruments, and other such agreements may have been
 inadvertently omitted. Thus, the Debtor reserves its right to amend the Schedules to the extent that
 additional Guarantees are identified. In addition, the Debtor reserves the right, but shall not be
 required, to amend the Schedules and SOFA to recharacterize or reclassify any such contract, lease,
 claim, or Guarantee.

         Causes of Action: The Debtor, despite its best efforts, may not have listed all of its causes
 of action (filed or potential) against third parties as assets in the Schedules and SOFA. The Debtor
 reserves all of its rights with respect to any causes of action the Debtor may have, and neither these
 Global Notes nor the Schedules and SOFA shall be deemed a waiver of any such causes of action.

        Schedule A—Real Property: The Debtor’s failure to list any rights in real property on
 Schedule A should not be construed as a waiver of any such rights that may exist, whether known
 or unknown at this time.

         Schedule B—Personal Property: Personal property owned by the Debtor is listed in
 Schedule B. To the extent that the Debtor has not been able to identify the actual physical location
 of certain personal property, the Debtor has reported the address of the Debtor’s principal place of
 business.

         Exclusion of certain property, whether tangible or intangible, shall not be construed as an
 admission that such property rights have been abandoned, terminated, assigned, expired by its
 terms, or otherwise transferred pursuant to a sale, acquisition, or other transaction.

        Schedule D—Creditors Holding Secured Claims: The Debtor reserves the right to
 dispute or challenge the validity, perfection, or immunity from avoidance of any lien purported to
 be granted or perfected in any specific asset to a creditor listed on Schedule D. Moreover, although



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 the Debtor may have scheduled claims of various creditors as secured claims for informational
 purposes, no current valuation of the Debtor’s assets in which such all creditors may have a lien
 has been undertaken.

        The descriptions in Schedule D are intended to be only a summary. Reference to the
 applicable agreements and related documents and a determination of the creditor’s compliance
 with applicable law is necessary for a complete description of the collateral and the nature, extent,
 and priority of any liens. Nothing in the Global Notes or the Schedules and SOFA shall be deemed
 a modification or interpretation of the terms of such agreements or related documents.

         Schedule E—Creditors Holding Unsecured Priority Claims: Listing a claim on
 Schedule E as “unsecured priority” does not constitute the Debtor taking a position on the legal
 rights of the claimant. The Debtor expressly reserves the right to assert that any claim listed on
 Schedule E does not constitute an unsecured priority claim under section 507 of the Bankruptcy
 Code. All claims listed on Schedule E appear to have arisen, or to have been incurred, on or before
 the Petition Date.

         Schedule F—Creditors Holding Unsecured Nonpriority Claims: Listing a claim on
 Schedule F as “unsecured nonpriority” does not constitute an admission by the Debtor of any legal
 rights of the claimant. The Debtor expressly reserves the right to assert that any claim listed on
 Schedule F does not constitute an unsecured nonpriority claim (including the right to assert that
 any such claim constitutes a secured or priority claim). Additionally, noting that a claim on
 Schedule F is “subject to setoff” does not constitute an admission by the Debtor of the legal rights
 of the claimant. The Debtor expressly reserves the right to assert that any claim listed on Schedule
 F is not subject to setoff or dispute any claim to such setoff.

         Certain creditors may assert mechanic’s, materialman’s, or other statutory liens against the
 Debtor for amounts listed on Schedule F. The Debtor reserves its right to dispute or challenge the
 validity, perfection, or immunity from avoidance of any lien purported to be perfected by a creditor
 listed on Schedule F.

        The claims listed on Schedule F arose, or were incurred, on various dates, and a
 determination of each date that each claim arose, or was incurred, would be unduly burdensome
 and cost prohibitive. Accordingly, not all such dates are included for each claim. All claims listed
 on Schedule F, however, appear to have arisen, or to have been incurred, prior to the Petition Date.

         Schedule G—Executory Contracts and Unexpired Leases: Although reasonable efforts
 have been made to ensure the accuracy of Schedule G regarding executory contracts and unexpired
 leases, the Debtor’s review is ongoing, and inadvertent errors, omissions, or over-inclusion may
 have occurred.

        The Debtor reserves all its rights, claims, and causes of action with respect to the contracts
 and agreements listed on Schedule G, including the right to dispute or challenge the
 characterization or the structure of any transaction, document, or instrument. Certain executory
 agreements may not have been memorialized in writing and could be subject to dispute. Generally,
 executory agreements that are oral in nature have not been included in Schedule G.



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         Schedule H—Co-Obligors: Although the Debtor has made every effort to ensure the
 accuracy of Schedule H, inadvertent errors, omissions, or inclusions may have occurred. The
 Debtor hereby reserves all rights to dispute the validity, status, and enforceability of any
 obligations set forth on Schedule H and to further amend or supplement such Schedule as
 necessary.

          The Debtor further reserves all rights, claims, and causes of action with respect to the
 obligations listed on Schedule H, including the right to dispute or challenge the characterization
 or the structure of any transaction, document, or instrument related to a creditor’s claim. The listing
 of a contract, guarantee, or other obligation on Schedule H shall not be deemed an admission that
 such obligation is binding, valid, or enforceable.

        SOFA—Transfers Outside of the Ordinary Course of Business: Nothing in the
 Debtor’s response to Question 10 constitutes an admission by the Debtor that such transfers were
 outside of the ordinary course of the Debtor’s business.




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Fill in this information to identify the case:

Debtor name        Navarro Pecan Company, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF TEXAS

Case number (if known)      23-40266-11
                                                                                                                      Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)                                          Last 4 digits of account
                                                                                                 number
                  Truist
           3.1.   Operating Account                               Checking                       0662                                           $0.00



                  Truist
           3.2.   Accounts Payable                               Checking                        0704                                           $0.00



                  Truist
           3.3.   Collections Account                            Checking                        0688                                 $577,099.60



                  Truist
           3.4.   Employee Benefits Account                      Checking                        0720                                   $3,765.54



                  Truist
           3.5.   Operating Account                              Checking                        0670                                         $60.00



                  Community Bank & Trust of Texas
           3.6.   Collection Account                             Checking                                                                    $444.40



4.         Other cash equivalents (Identify all)


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                             page 1
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Debtor         Navarro Pecan Company, Inc.                                                 Case number (If known) 23-40266-11
               Name


5.         Total of Part 1.                                                                                                      $581,369.54
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                 4,432,951.00       -                                    0.00 = ....           $4,432,951.00
                                       face amount                           doubtful or uncollectible accounts




           11b. Over 90 days old:                     401,283.20        -                                   0.00 =....               $401,283.20
                                       face amount                           doubtful or uncollectible accounts



12.        Total of Part 3.                                                                                                     $4,834,234.20
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:        Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.
                                                                                                    Valuation method used   Current value of
                                                                                                    for current value       debtor's interest

14.        Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                   100% ownership of Pecan Producers
           15.1.   International, Inc.                                                      %                                          Unknown



16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


17.        Total of Part 4.                                                                                                              $0.00
           Add lines 14 through 16. Copy the total to line 83.

Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 2
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            Name



         General description               Date of the last         Net book value of       Valuation method used   Current value of
                                           physical inventory       debtor's interest       for current value       debtor's interest
                                                                    (Where available)

19.      Raw materials
         As of the Petition Date,
         the Debtor has 221,220
         pounds of Inshelled
         Pecans, valued at
         $442,440.00.                                                        Unknown                                          $442,440.00



20.      Work in progress
         The Debtor has Work in
         Progress of Shelled
         Pecans. As of the
         Petition Date, this WIP
         consists of "Plant WIP",
         representing 119,096
         pounds of Shelled
         Pecans, valued at
         $476,384.00 and Shelled
         Pecans WIP consisting
         of approximately
         2,100,000 pounds of
         Shelled Pecans valued
         at $7,160,040.50.                                                   Unknown                                         $7,636,425.00



21.      Finished goods, including goods held for resale
         As of the Petition Date,
         the Debtor has
         approximately 755,416
         pounds of finished
         Shelled Pecans in
         inventory, valued at
         $3,739,309.20.                                                      Unknown                                         $3,739,309.20



22.      Other inventory or supplies
         Packing supplies                                                    Unknown                                          $190,000.00



23.      Total of Part 5.                                                                                                $12,008,174.20
         Add lines 19 through 22. Copy the total to line 84.

24.      Is any of the property listed in Part 5 perishable?
          No
          Yes
25.      Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
          No
          Yes. Book value                              Valuation method                         Current Value

26.      Has any of the property listed in Part 5 been appraised by a professional within the last year?
          No
          Yes


Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                  page 3
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Debtor        Navarro Pecan Company, Inc.                                                    Case number (If known) 23-40266-11
              Name

Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
           General description                                            Net book value of          Valuation method used   Current value of
                                                                          debtor's interest          for current value       debtor's interest
                                                                          (Where available)

39.        Office furniture

40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           The Debtor owns certain office and data
           equipment at its facility, including office
           furniture, computers, and office equipment.
           The net book cost of this property was
           $289,005.20. Most of the items were purchased
           in the 1980s and 1990s and have been fully
           depreciated.                                                                    $0.00                                        Unknown



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                                 $0.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
           General description                                            Net book value of          Valuation method used   Current value of
           Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                  (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles




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           47.1.   1985 Chevy Truck
                   1999 Chevy Pickup
                   1998 Chevy Suburban
                   Used IH Cargo Truck
                   Yarddog Truck
                   USED SHELL TRAILER                                           $17,155.72                                          Unknown



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           New Plant Machinery
           The Debtor owns a significant amount of new
           plant machinery at its processing plant.
           The net book cost of this machinery was
           $6,703,959.13.                                                   $1,457,559.79                                           Unknown


           The Debtor also owns certain older plant
           machinery at its processing plant.
           The net book cost of this machinery was
           $7,901,484.91.                                                   $1,752,793.17                                           Unknown




51.        Total of Part 8.                                                                                                           $0.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and           Net book value of         Valuation method used   Current value of
           property                              extent of            debtor's interest         for current value       debtor's interest
           Include street address or other       debtor's interest    (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 5
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Debtor        Navarro Pecan Company, Inc.                                                 Case number (If known) 23-40266-11
              Name

           55.1.   The Debtor owns its
                   processing facility
                   located at 2131 Hwy
                   31, Corsicana, Texas
                   75109 and certain
                   adjoining parcels.
                   The Debtor's
                   ownership in this real
                   property includes
                   both the land and
                   facility located
                   thereon.

                   The value listed is
                   based on value of the
                   land and
                   improvements as
                   assessed by the local
                   taxing authorities.
                   The net book cost of
                   the building and
                   related
                   improvements was
                   $5,788,659.30.

                   The building also
                   includes a cold
                   storage warehouse.
                   The net book cost of
                   the warehouse was
                   $1,469,099.12.                                             $1,194,268.04           Tax records                    $7,453,260.00




56.        Total of Part 9.                                                                                                       $7,453,260.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.navarropecan.com                                                    Unknown                                               Unknown



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 6
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Debtor        Navarro Pecan Company, Inc.                                                  Case number (If known) 23-40266-11
              Name

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           The Debtor maintains customer lists and
           certain other mailing lists.                                            Unknown                                            Unknown



64.        Other intangibles, or intellectual property
           The Debtor possesses certain intellectual
           property, including, without limitation, those
           related to its business name and website.                               Unknown                                            Unknown



65.        Goodwill

66.        Total of Part 10.                                                                                                             $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                           Current value of
                                                                                                                           debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities
           The Debtor has interests in various insurance policies,
           including general liability, auto, property, and other
           umbrella policies.                                                                                                         Unknown



74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 7
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Debtor      Navarro Pecan Company, Inc.                                             Case number (If known) 23-40266-11
            Name

         The Debtor may possess certain causes of actions
         against third parties. The Debtor hereby preserves and
         retains all such causes of action it has against third
         parties. Specifically, without limiting the generality of
         the foregoing, the Debtor has claims against Dean
         Foods and SNRA Commodities.                                                                                       Unknown
         Nature of claim
         Amount requested                                      $0.00



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                                  $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                              page 8
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Debtor          Navarro Pecan Company, Inc.                                                                         Case number (If known) 23-40266-11
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $581,369.54

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                 $4,834,234.20

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                         $12,008,174.20

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $7,453,260.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                       $17,423,777.94             + 91b.            $7,453,260.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $24,877,037.94




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 9
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Fill in this information to identify the case:

Debtor name          Navarro Pecan Company, Inc.

United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

Case number (if known)              23-40266-11
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    Deere & Company                              Describe debtor's property that is subject to a lien                    Unknown                  Unknown
       Creditor's Name                              Tractor
       6400 NW 86th Street
       Johnston, IA 50131
       Creditor's mailing address                   Describe the lien
                                                    Purchase Money Security
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



2.2    Hillcrest Bank                               Describe debtor's property that is subject to a lien              $4,512,310.05            $7,453,260.00
       Creditor's Name                              The Debtor owns its processing facility
                                                    located at 2131 Hwy 31, Corsicana, Texas
                                                    75109 and certain adjoining parcels. The
                                                    Debtor's ownership in this real property
                                                    includes both the land and facility located
                                                    thereon.
       3102 Maple Avenue, Suite
       120                                          Equipment
       Dallas, TX 75201
       Creditor's mailing address                   Describe the lien
                                                    Deed of Trust
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 4
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Debtor      Navarro Pecan Company, Inc.                                                           Case number (if known)      23-40266-11
            Name

                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5872
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.
      1. Hillcrest Bank
      2. Hillcrest Bank

2.3   Hillcrest Bank                              Describe debtor's property that is subject to a lien                     $819,942.24      $7,453,260.00
      Creditor's Name                             The Debtor owns its processing facility
                                                  located at 2131 Hwy 31, Corsicana, Texas
                                                  75109 and certain adjoining parcels. The
                                                  Debtor's ownership in this real property
                                                  includes both the land and facility located
                                                  thereon.
      3102 Maple Avenue, Suite
      120                                         Equipment
      Dallas, TX 75201
      Creditor's mailing address                  Describe the lien
                                                  Deed of Trust
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5861
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.
      Specified on line 2.2

      Navarro County Tax
2.4                                                                                                                        $863,851.90             $0.00
      Assessor                                    Describe debtor's property that is subject to a lien
      Creditor's Name                             Debtor's Real and Personal Property
      601 N. 13th Street, Suite 2
      Corsicana, TX 75110
      Creditor's mailing address                  Describe the lien
                                                  Statutory Lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 4
         Case 23-40266-elm11                        Doc 56 Filed 02/15/23 Entered 02/15/23 23:37:02                                            Desc Main
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Debtor       Navarro Pecan Company, Inc.                                                           Case number (if known)       23-40266-11
             Name

        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.
                                                    Disputed


2.5    Truist Bank                                 Describe debtor's property that is subject to a lien                $11,838,782.25                Unknown
       Creditor's Name                             Accounts receivable, accounts, inventory,
       3333 Peachtree Rd, NE, 7th                  and certain other assets
       Floor
       Atlanta, GA 30326
       Creditor's mailing address                  Describe the lien
                                                   Security Agreement
                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



2.6    Wells Fargo Bank, N.A.                      Describe debtor's property that is subject to a lien                       Unknown                Unknown
       Creditor's Name                             Forklift
       800 Walnut Street,
       F0005-044
       Des Moines, IA 50309
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.




                                                                                                                            $18,034,886.
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      44

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 4
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           Name

      Name and address                                                              On which line in Part 1 did       Last 4 digits of
                                                                                    you enter the related creditor?   account number for
                                                                                                                      this entity
      Brent McIlwain
      Holland & Knight LLP                                                          Line   2.5
      One Arts Plaza
      1722 Routh Street, Suite 1500
      Dallas, TX 75201

      Joseph Wielebinski
      Winstead PC                                                                   Line   2.2
      2728 N. Harwood Street, Suite 500
      Dallas, TX 75201




Official Form 206D       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 4 of 4
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Fill in this information to identify the case:

Debtor name        Navarro Pecan Company, Inc.

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF TEXAS

Case number (if known)          23-40266-11
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim            Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                           $0.00     Unknown
          Internal Revenue Service                             Check all that apply.
          Special Procedures - Insolvency                       Contingent
          P.O. Box 7346                                         Unliquidated
          Philadelphia, PA 19101-7346

          Date or dates debt was incurred


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $2,344.46
          5 Star Printing                                                     Contingent
          2461 Christian Road                                                 Unliquidated
          Ennis, TX 75119                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No  Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    Unknown
          5th Avenue Temporaries LLC                                          Contingent
          112 G W Jackson Ave                                                 Unliquidated
          Corsicana, TX 75110                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No  Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 1 of 27
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Debtor      Navarro Pecan Company, Inc.                                                     Case number (if known)            23-40266-11
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $395.00
         A&D Cold Storage Inc.                                      Contingent
         512 Southbridge Street                                     Unliquidated
         Worcester, MA 01610                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $7,438.75
         Action Automatic Sprinkler Inc.                            Contingent
         PO Box 797                                                 Unliquidated
         Waxahachie, TX 75168                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $32,678.75
         Aetna                                                      Contingent
         151 Farmington Ave                                         Unliquidated
         Hartford, CT 06156                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,311.28
         Aflac                                                      Contingent
         ATTN:REMITTANCE PROC SVCS                                  Unliquidated
         1932 Wynnton Road                                          Disputed
         Columbus, GA 31999
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $14,283.98
         Airgas USA LLC                                             Contingent
         P.O. 734671                                                Unliquidated
         Dallas, TX 75373-4671                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,425.00
         Aldinger Company                                           Contingent
         1440 Prudential Drive                                      Unliquidated
         Dallas, TX 75235                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $97.63
         Allied Electronics                                         Contingent
         PO Box 2325                                                Unliquidated
         Fort Worth, TX 76113                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 27
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Debtor      Navarro Pecan Company, Inc.                                                     Case number (if known)            23-40266-11
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $109,650.00
         AMC Freight Management                                     Contingent
         P.O. BOX 371993                                            Unliquidated
         El Paso, TX 79937                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $65.00
         Ameriflex                                                  Contingent
         PO Box 871655                                              Unliquidated
         Kansas City, MO 64187                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,100.18
         AMVT LLC                                                   Contingent
         P O BOX 941086                                             Unliquidated
         Houston, TX 77094                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $128.00
         Armory Street Cold Storage LLC                             Contingent
         120 Washington Street                                      Unliquidated
         Worcester, MA 01610                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $416.41
         AT&T                                                       Contingent
         P.O. Box 6463                                              Unliquidated
         Carol Stream, IL 60197-6463                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,595.23
         ATG Computer Solutions LLC                                 Contingent
         P.O. BOX 2912                                              Unliquidated
         McKinney, TX 75070                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $20,956.70
         Atkinson Pecan LLC                                         Contingent
         5993 FM1301 Road                                           Unliquidated
         Wharton, TX 77488                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 3 of 27
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Debtor      Navarro Pecan Company, Inc.                                                     Case number (if known)            23-40266-11
            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,269.88
         Atmos Energy                                               Contingent
         P.O. Box 790311                                            Unliquidated
         Saint Louis, MO 63179-0311                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $8,038.23
         Automated Time Keeping Inc                                 Contingent
         13100 Wortham Center Blvd.                                 Unliquidated
         3Rd. Floor                                                 Disputed
         Houston, TX 77065
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $693.33
         Autumn Foods
         Golden Lion House 15 St. John                              Contingent
         Maddermarket                                               Unliquidated
         Norwich, NR2 1DN                                           Disputed
         United Kingdom
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,078.32
         B2B Industrial Packaging                                   Contingent
         1026 Avenue M                                              Unliquidated
         Grand Prairie, TX 75050                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,129.60
         Backup Barcode Systems                                     Contingent
         800 Security Row                                           Unliquidated
         Suite 2                                                    Disputed
         Richardson, TX 75081
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $42,336.30
         Bank Direct Capital Finance                                Contingent
         150 North Field Drive, Suite 190                           Unliquidated
         Lake Forest, IL 60045                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,925.00
         Barke Group, Inc.                                          Contingent
         P.O. BOX 44203                                             Unliquidated
         Eden Prairie, MN 55344                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,800.00
         Bruce Roy                                                  Contingent
         PO Box 191                                                 Unliquidated
         Mansura, LA 71350                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $10,647.00
         Byline Financial Group                                     Contingent
         2801 Lakeside Drive, Suite 212                             Unliquidated
         Deerfield, IL 60015                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $7,726.96
         C.H. Powell Company                                        Contingent
         75 Shawmut Road                                            Unliquidated
         Canton, MA 02021                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,869.24
         Capital One Trade Credit                                   Contingent
         P.O. BOX 105525                                            Unliquidated
         Atlanta, GA 30348-5525                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $338.53
         Chart Pool USA Inc.                                        Contingent
         5695 Old Porter Road                                       Unliquidated
          OH 43368                                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Chase Card Services                                        Contingent
         PO Box 6294                                                Unliquidated
         Carol Stream, IL 60197                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Christopher Riley                                          Contingent
         Address on file                                            Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes




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3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $64,749.73
         Cintas Corp.                                               Contingent
         CINTAS LOC 12 M                                            Unliquidated
         P.O. BOX 650838                                            Disputed
         Dallas, TX 75265
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,806.11
         City of Corsicana                                          Contingent
         200 N 12th Street                                          Unliquidated
         Corsicana, TX 75110                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Combi Packaging Systems LLC                                Contingent
         P.O. BOX 35878                                             Unliquidated
         Canton, OH 44735                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $6,326.84
         Consolidated Refrigeration Tec                             Contingent
         P.O. BOX 551267                                            Unliquidated
         Dallas, TX 75355                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                                                      No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $655.00
         Corsicana & Navarro County                                 Contingent
         Chamber of Commerce                                        Unliquidated
         120 N. 12th Street                                         Disputed
         Corsicana, TX 75110
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $828.37
         Corsicana Napa Auto Parts                                  Contingent
         CORPORATE BILLING LLC                                      Unliquidated
         DEPT. 100 P.O. BOX 83064                                   Disputed
         Birmingham, AL 35283
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $251.58
         Corsicana Welding Supply                                   Contingent
         2151 E. HWY. 31                                            Unliquidated
         Corsicana, TX 75109                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $7,653.50
         CPR LLC                                                    Contingent
         P.O. BOX 8051                                              Unliquidated
         Bossier City, LA 71113                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         D&P Cold Storage                                           Contingent
         324 SH 16 South                                            Unliquidated
         Goldthwaite, TX 76844                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,690.75
         D. McCrea & Son                                            Contingent
                                                                    Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes
3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,106.00
         Dabo Int                                                   Contingent
         Suite B 310 LG Seolieung Ecrat                             Unliquidated
         142 3 Sameseong Dong                                       Disputed
         Gangnam GU, Seoul, KO 00013-5876
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $151,023.00
         Dairy Farmers of America                                   Contingent
         8401 N. Central Expressway, Suite 400                      Unliquidated
         Dallas, TX 75225                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Dakota Distributing LP                                     Contingent
         P.O. BOX 171523                                            Unliquidated
         Arlington, TX 76003                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $14,974.89
         David J Smith                                              Contingent
         105 Grand Drive                                            Unliquidated
         Cary, IL 60013                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $267.42
         Dean Lloyd Enterprises Inc.                                Contingent
         PO Box 1141                                                Unliquidated
         Montgomery, IL 60538                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $16,051.16
         Debbie Roy Brokerage Co                                    Contingent
         504 Acton Road                                             Unliquidated
         P.O. BOX 98                                                Disputed
         Marksville, LA 71351
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $370.00
         Definiti                                                   Contingent
         2201 Timberloch Place, Ste. 150                            Unliquidated
         The Woodlands, TX 77380                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $47,405.77
         Deibel Laboratores                                         Contingent
         PO Box 1056                                                Unliquidated
         Osprey, FL 34229                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,448.80
         DeLage Landen Financial Services                           Contingent
         PO Box 41602                                               Unliquidated
         Philadelphia, PA 19101                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $32,795.00
         E Global Shipping                                          Contingent
         13921 Hwy 105W                                             Unliquidated
         Conroe, TX 77304                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $5,192,805.48
         Easterlin Pecan Company                                    Contingent
         P.O. BOX 216                                               Unliquidated
         Montezuma, GA 31063                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,199.00
         Ecovadis SAS                                               Contingent
         43 Ave De La Grande Armee                                  Unliquidated
         Paris France 75116                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,451.76
         Edge Biologicals Inc                                       Contingent
         P.O. BOX 11989                                             Unliquidated
         Memphis, TN 38111                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $285.87
         Edict Systems Inc.                                         Contingent
         L-3115                                                     Unliquidated
         Columbus, OH 43260                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $12,564.54
         Electrico Inc.                                             Contingent
         PO Box 3097                                                Unliquidated
         Corsicana, TX 75151                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $185.64
         Elliot Electric Supply                                     Contingent
         P.O. BOX 206524                                            Unliquidated
         Dallas, TX 75320                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,297.32
         Ertelalsop                                                 Contingent
         132 Flatbush Avenue                                        Unliquidated
         Kingston, NY 12401                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,000.00
         ESC Consultants                                            Contingent
         P.O. BOX 691447                                            Unliquidated
         San Antonio, TX 78269                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $19,155.22
         Euler Hermes Services                                      Contingent
         C/O Finance Department                                     Unliquidated
         800 Red Brook Blvd.                                        Disputed
         Owings Mills, MD 21117
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $388.42
         Evans Brokerage Company                                    Contingent
         1 Riverview Drive                                          Unliquidated
         Barrington, RI 02806-2535                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $16,003.69
         FedEx                                                      Contingent
         P.O. BOX 660481                                            Unliquidated
         Dallas, TX 75266-0481                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Fortis Solutions Group                                     Contingent
         P.O. BOX 369                                               Unliquidated
         Catoosa, OK 74015                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $21,048.35
         Galena Capital Partners                                    Contingent
         800 W Main Street, Suite 1460                              Unliquidated
         Boise, ID 83702                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,676.64
         Gary Kincaid Scale Co                                      Contingent
         PO Box 1969                                                Unliquidated
         Forney, TX 75126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,217.00
         Global Bottomline                                          Contingent
         PO Box 7004                                                Unliquidated
         Granbury, TX 76049                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Global Equipment Company                                   Contingent
         29833 Network Place                                        Unliquidated
         Chicago, IL 60673-1298                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $6,383.50
         Global Trading & Agency                                    Contingent
         Stationsweg 35                                             Unliquidated
         3362 HA Sliedrecht                                         Disputed
         Netherlands, Sliedecht, NET
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $9.42
         Goveco Food Brokers                                        Contingent
         3 Nubanusit Lane                                           Unliquidated
         Petersborough, NH 03458                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Graphic Controls                                           Contingent
         P.O. BOX 1271                                              Unliquidated
         Buffalo, NY 14240                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $41,207.04
         Green Bay Packaging Inc.                                   Contingent
         BIN NO. 53139                                              Unliquidated
         Milwaukee, WI 53288-0139                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,793.69
         H & W Ingredients                                          Contingent
         8400 Brookfield Avenue                                     Unliquidated
         Brookfield, IL 60513                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,204.51
         Heart of Texas                                             Contingent
         NETWORK CONSULTANTS                                        Unliquidated
         703 Willow Grove Rd.                                       Disputed
         Waco, TX 76712
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,314.64
         Herc Rentals                                               Contingent
         P.O. BOX 936257                                            Unliquidated
         Atlanta, GA 31193                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $194.10
         Hillbrush Inc.                                             Contingent
         811 Rolyn Ave                                              Unliquidated
         Rosedale, MD 21237                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $30.25
         Howards Fire Extinguisher Serv                             Contingent
         P.O. BOX 2372                                              Unliquidated
         Corsicana, TX 75151                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $274.89
         HR Direct                                                  Contingent
         PO Box 699390                                              Unliquidated
         Pompano Beach, FL 33066                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,550.00
         IDV Safesite                                               Contingent
         237 East Main Street                                       Unliquidated
         Waconia, MN 55387                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $470.00
         Incorporate Com                                            Contingent
         PO Box 7410023                                             Unliquidated
         Chicago, IL 60674                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $322.99
         Jackson-Hirsh Inc                                          Contingent
         700 Anthony Trail                                          Unliquidated
         Northbrook, IL 60062-2542                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,190.48
         James Manufacturing Inc.                                   Contingent
         P.O. BOX 125                                               Unliquidated
         Corsicana, TX 75151-0125                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jayhawk Industrial Services                                Contingent
         1015 Industrial Dr.                                        Unliquidated
         Royse City, TX 75189                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,934.34
         Joe W Fly Company                                          Contingent
         PO Box 678106                                              Unliquidated
         Dallas, TX 75267                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,086.11
         John Deere Financial                                       Contingent
         PO Box 650215                                              Unliquidated
         Dallas, TX 75265                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $7,253.94
         John H. Garoni                                             Contingent
         8827 Whisper Gate                                          Unliquidated
         Boerne, TX 78015                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Johnson Supply Co                                          Contingent
         P.O. BOX 4481                                              Unliquidated
         MSC#500                                                    Disputed
         Houston, TX 77210
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $13,267.21
         Kaeser Compressors                                         Contingent
         PO Box 946                                                 Unliquidated
         Fredericksburg, VA 22404                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $28,979.60
         Kerens Grain & Elevator                                    Contingent
         811 NW 2nd                                                 Unliquidated
         P.O. BOX 223                                               Disputed
         Kerens, TX 75144
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Laughlin Sales Corporation                                 Contingent
         PO BOX 163873                                              Unliquidated
         Fort Worth, TX 76161                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Lehigh Food Sales Inc.                                     Contingent
         Terry Muth                                                 Unliquidated
         P.O. BOX 279                                               Disputed
         Center Valley, PA 18034
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,403.73
         Lift Truck Supply Inc.                                     Contingent
         P.O. BOX 8251                                              Unliquidated
         Tyler, TX 75711                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                                                      No  Yes
3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,600.00
         Logistics Dynamics LLC                                     Contingent
         P.O. BOX 675297                                            Unliquidated
         Detroit, MI 48267                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Lonestar Forklift                                          Contingent
         P.O. BOX 561075                                            Unliquidated
         Denver, CO 80256-1075                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,709.16
         Longhorn Industrial Supply Inc                             Contingent
         P.O. BOX 8675                                              Unliquidated
         Ennis, TX 75120                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $38,800.00
         Mansfield Warehousing Services Inc.                        Contingent
         614 Jenkins                                                Unliquidated
         Mansfield, LA 71052                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $12,499.62
         Marathon Associates Inc                                    Contingent
         207 CHESHIRE WAY                                           Unliquidated
         Naples, FL 34110-4410                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $89.70
         McKee Lumber & True Value                                  Contingent
         104 N. 7th Street                                          Unliquidated
         Corsicana, TX 75110                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,280.00
         Medical & Surgical Enviva                                  Contingent
         219 W 6TH                                                  Unliquidated
         Corsicana, TX 75110                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,023.66
         Metlife                                                    Contingent
         P.O. BOX 804466                                            Unliquidated
         Kansas City, MO 64180                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,913.60
         Mettler Toledo LLC                                         Contingent
         PO Box 730867                                              Unliquidated
         Dallas, TX 75373                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $33,035.90
         Meyer Laboratory Inc.                                      Contingent
         2401 W. Jefferson                                          Unliquidated
         Blue Springs, MO 64015-7298                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,411.13
         Modern Electronics                                         Contingent
         Equipment Inc.                                             Unliquidated
         280 Independence Ave.                                      Disputed
         Grand Cane, LA 71032
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $75,319.90
         Muirhead Trucking, Inc.                                    Contingent
         P.O. BOX 1080                                              Unliquidated
         Mabank, TX 75147                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $76,170.47
         Nature's Finest Foods Ltd                                  Contingent
         1505 Paramount Parkway                                     Unliquidated
         Batavia, IL 60510-1469                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Navco Safe and Lock Company                                Contingent
         943 W 7th Avenue                                           Unliquidated
         Corsicana, TX 75110                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $919.42
         Nelson Propane Inc                                         Contingent
         P.O. BOX 2127                                              Unliquidated
         Corsicana, TX 75151                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Neogen Corporation                                         Contingent
         25153 Network Place                                        Unliquidated
         Chicago, IL 60673-1251                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $919.80
         New Pig Corporation                                        Contingent
         One Pork Ave.                                              Unliquidated
         P.O. BOX 304                                               Disputed
         Tipton, PA 16684-0304
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Nexeo                                                      Contingent
         62190 Collections Center Drive                             Unliquidated
         Chicago, IL 60693                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $513.68
         Nissha Medical Technologies                                Contingent
         PO Box 1271                                                Unliquidated
         Buffalo, NY 14240                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Nuts 2 B V                                                 Contingent
         Stationsweg 35                                             Unliquidated
         3362 Ha Sliedrecht                                         Disputed
         The Netherlands, Sliedrecht, NET
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $136,392.00
         Nutsource Inc                                              Contingent
         1700N Lincoln Hwy                                          Unliquidated
         St. Charles, IL 60174                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                                                      No  Yes
3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $7,980.00
         Nutto's Peanut & Popcorn                                   Contingent
         SUPPLY                                                     Unliquidated
         3807 Seneca St.                                            Disputed
         West Seneca, NY 14224
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $545,663.80
         NYM Corporation                                            Contingent
         C/O Donna Edwards                                          Unliquidated
         1325 W Sturbridge Drive                                    Disputed
         Hoffman Estates, IL 60192
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,142.72
         Owen Hardware Inc.                                         Contingent
         222 N. Commerce                                            Unliquidated
         Corsicana, TX 75110                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $302.00
         PB&H Benefits LLC                                          Contingent
         401 West Highway 6                                         Unliquidated
         PO Box 20725                                               Disputed
         Waco, TX 76702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,898,780.00
         Pecan Producers, Inc.                                      Contingent
         324 SH 16 South                                            Unliquidated
         Goldthwaite, TX 76844                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Precision Food Innovations                                 Contingent
         P.O. BOX 323                                               Unliquidated
         Pella, IA 50219                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Presto-X                                                   Contingent
         P.O. BOX 13848                                             Unliquidated
         Reading, PA 19612-3848                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,664.19
         Priority 1 Inc                                             Contingent
         P.O. BOX 840808                                            Unliquidated
         Dallas, TX 75284-0808                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Profile Films                                              Contingent
         P.O. BOX 30516                                             Unliquidated
         DEPT 6084                                                  Disputed
         Lansing, MI 48909-8016
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $113,502.18
         Pure & Natural Food Consortium                             Contingent
         1700 Lincoln Hwy.                                          Unliquidated
         Suite H
                                                                    Disputed
         St. Charles, IL 60174
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $11,214.03
         Purvis Industries LLC                                      Contingent
         P.O. BOX 540757                                            Unliquidated
         Dallas, TX 75354-0757                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Quadient Finance USA Inc                                   Contingent
         PO BOX 6813                                                Unliquidated
         Carol Stream, IL 60197-6813                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $40,175.00
         Quaker Transportation Inc                                  Contingent
         P.O. BOX 11388                                             Unliquidated
         Lancaster, PA 17605-1388                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,582.34
         Randy's Electric Inc.                                      Contingent
         8377 SW Co Rd 2050                                         Unliquidated
         Purdon, TX 76679                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $800.00
         Rehab and Maintenance Services                             Contingent
         PO Box 994                                                 Unliquidated
         Dallas, TX 75312                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $27,836.42
         Reliant Energy                                             Contingent
         PO Box 120954                                              Unliquidated
         Dallas, TX 75312                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $17,359.44
         Rentokil                                                   Contingent
         P.O. BOX 740608                                            Unliquidated
         Cincinnati, OH 45274-0608                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,408.84
         Republic Services #069                                     Contingent
         PO Box 78829                                               Unliquidated
         Phoenix, AZ 85062                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $745.16
         RMF Steel Products Co                                      Contingent
         4417 East 119th Street                                     Unliquidated
         Grandview, MO 64030                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $23,331.56
         S Kamberg & Co Ltd.                                        Contingent
         99 Powerhouse Road                                         Unliquidated
         Suite 204                                                  Disputed
         Roslyn Heights, NY 11577
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $694.62
         Saf T Gard Intl Inc                                        Contingent
         P.O. BOX 7694                                              Unliquidated
         Carol Stream, IL 60197                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $852.50
         Sanquin Ind Inc                                            Contingent
         14578 Hwy 34 North                                         Unliquidated
         Terrell, TX 75160                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $14,124.00
         SAS Distribution                                           Contingent
         26865 Interstate 45 S                                      Unliquidated
         SUITE 200                                                  Disputed
         Woodlands, TX 77380
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,122.96
         Satake USA                                                 Contingent
         LOCK BOX                                                   Unliquidated
         P.O. BOX 841076                                            Disputed
         Dallas, TX 75284-1076
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,226.84
         Savage Equipment Inc                                       Contingent
         1020 Industrial Road                                       Unliquidated
         Madill, OK 73446                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,091.84
         Signode Packaging                                          Contingent
         P.O. BOX 71506                                             Unliquidated
         Chicago, IL 60694                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $115,920.60
         Silliker Inc                                               Contingent
         3155 Paysphere Circle                                      Unliquidated
         Chicago, IL 60674                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $254.39
         Smith AG Service                                           Contingent
         1506 S. 7th                                                Unliquidated
         Corsicana, TX 75110                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $70,400.11
         Smurfit Kappa No America LLC                               Contingent
         MAIL CODE 5184                                             Unliquidated
         P.O. BOX 660367                                            Disputed
         Dallas, TX 75266-0367
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $151,805.00
         SNRA Commodities Inc                                       Contingent
         P.O. BOX 734056                                            Unliquidated
         Dallas, TX 75373-4056                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Southeastern Employee Benefit Services                     Contingent
         4837 Carolina Beach Road, Suite 112                        Unliquidated
         Wilmington, NC 28412                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,186.94
         Southern Dock Products                                     Contingent
         P.O. BOX 840602                                            Unliquidated
         Dallas, TX 75284-0602                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $20,522.46
         Southern Packaging LP                                      Contingent
         P.O. BOX 677                                               Unliquidated
         Mansfield, TX 76063                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $368.09
         Stahmann Farms Enterprises                                 Contingent
         193 McDougall St.                                          Unliquidated
         Australia, Toowoo QLD, AUST 04351-0000                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $823.60
         Staples Business Adv Credit                                Contingent
         P.O. BOX 105638                                            Unliquidated
         Atlanta, GA 30348-5638                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Sterigenics                                                Contingent
         37244 Eagle Way                                            Unliquidated
         Chicago, IL 60678-1372                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $105.00
         Stroud Security Systems LP                                 Contingent
         P.O. BOX 20157                                             Unliquidated
         Waco, TX 76702-0157                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $14,661.14
         T & S Products Inc.                                        Contingent
         525 Duncan Perry Road                                      Unliquidated
         Arlington, TX 76011                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Tax Advisors Group LLC                                     Contingent
         12400 Coit Road Ste. 960                                   Unliquidated
         Dallas, TX 75251                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Tennant                                                    Contingent
         P.O. BOX 71414                                             Unliquidated
         Chicago, IL 60694-1414                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,552.24
         Texas Mutual Insurance Co.                                 Contingent
         PO Box 841843                                              Unliquidated
         Dallas, TX 75284                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,763.00
         The Cincinatti Insurance Co                                Contingent
         PO Box 145496                                              Unliquidated
         Cincinnati, OH 45250                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $44,825.38
         The Home Depot                                             Contingent
         DBA Supplyworks                                            Unliquidated
         PO Box 844727                                              Disputed
         Dallas, TX 75284
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $180.00
         Thermo Eberline LLC                                        Contingent
         PO Box 742857                                              Unliquidated
         Atlanta, GA 30374                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         TOMRA Sorting, Inc.                                        Contingent
         P. O. BOX 736114                                           Unliquidated
         Dallas, TX 75373-6114                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,476.15
         Toyota Industries                                          Contingent
         PO Box 660926                                              Unliquidated
         Dallas, TX 75266                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Transportation Management                                  Contingent
         & Consultants Ltd                                          Unliquidated
         P.O. BOX 1080                                              Disputed
         Mabank, TX 75147
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,764.42
         Travelers Cl Remittance Center                             Contingent
         P.O. BOX 660317                                            Unliquidated
         Dallas, TX 75266-0317                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,826.18
         Tretter Food Ingredients                                   Contingent
         PO Box 736                                                 Unliquidated
         Westwood, MA 02090                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Truist Bank                                                Contingent
         3333 Peachtree Rd, NE, 7th Floor                           Unliquidated
         Atlanta, GA 30326                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $127.74
         Tucker Fuel & Oil Co                                       Contingent
         PO Box 252                                                 Unliquidated
         Hutchins, TX 75141                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,713,385.89
         U.S. Pecan Trading Co. Ltd                                 Contingent
         1117 Zuni                                                  Unliquidated
         El Paso, TX 79925                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,975.95
         Uline                                                      Contingent
         ATTN:ACCOUNTS RECEIVABLE                                   Unliquidated
         P.O. BOX 88741                                             Disputed
         Chicago, IL 60680-1741
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         United Rentals (NA) Inc.                                   Contingent
         P.O. BOX 840514                                            Unliquidated
         Dallas, TX 75284-0514                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $150.53
         Urschel Laboatories, Inc.                                  Contingent
         P.O. BOX 856299                                            Unliquidated
         Minneapolis, MN 55485-6299                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,889,616.83
         US Pecans Ltd                                              Contingent
         1117 Zuni                                                  Unliquidated
         El Paso, TX 79925                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $109.60
         USP                                                        Contingent
         1390 Neubrecht Road                                        Unliquidated
         Lima, OH 45801                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         Unknown
         Ventura Foods LLC                                          Contingent
         26259 Network Place                                        Unliquidated
         Chicago, IL 60673-1262                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $84.38
         Verizon Wireless                                           Contingent
         P.O. BOX 660108                                            Unliquidated
         Dallas, TX 75266-0108                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $200.26
         Vertex Machine Co                                          Contingent
         P.O. BOX 1023                                              Unliquidated
         Corsicana, TX 75151-1023                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,003.14
         Videojet Technologies Inc                                  Contingent
         12113 Collection Center Drive                              Unliquidated
         Chicago, IL 60693                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,564.18
         Weber Scientific                                           Contingent
         2732 Kuser Road                                            Unliquidated
         Hamilton, NJ 08691                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,337.83
         Wells Fargo Equipment Finance                              Contingent
         P.O. BOX 1433                                              Unliquidated
         Des Moines, IA 50306-1433                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,936.97
         Winters Oil Company                                        Contingent
         PO Box 1637                                                Unliquidated
         Corsicana, TX 75151                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,746.50
         Wolver Enterprises                                         Contingent
         617 McKinney                                               Unliquidated
         Corsicana, TX 75110                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $6,458.05
         Xerox Financial Services                                   Contingent
         PO Box 202882                                              Unliquidated
         Dallas, TX 75320                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 26 of 27
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Debtor       Navarro Pecan Company, Inc.                                                            Case number (if known)            23-40266-11
             Name

3.178     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,514.35
          YWRD P C                                                          Contingent
          PO Box 1087                                                       Unliquidated
          Ennis, TX 75120                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                            0.00
5b. Total claims from Part 2                                                                           5b.    +   $                   14,213,137.43

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                      14,213,137.43




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 27 of 27
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Fill in this information to identify the case:

Debtor name        Navarro Pecan Company, Inc.

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF TEXAS

Case number (if known)      23-40266-11
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    See attached list
             List the contract number of any
                   government contract


2.2.         State what the contract or
             lease is for and the nature of
             the debtor's interest

                State the term remaining

             List the contract number of any
                   government contract


2.3.         State what the contract or
             lease is for and the nature of
             the debtor's interest

                State the term remaining

             List the contract number of any
                   government contract


2.4.         State what the contract or
             lease is for and the nature of
             the debtor's interest

                State the term remaining

             List the contract number of any
                   government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 10
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               Navarro Pecan Company, Inc. (Case No. 23-40266-elm11, Bankr. N.D. Tex.)

                        Schedule G: Executory Contracts and Unexpired Leases

                      Name                                                     Type
         1.           5TH AVENUE TEMPORARIES LLC                                   Contract
         2.           AT&T                                                         Contract
         3.           A T & T MOBILITY                                             Contract
         4.           A&D COLD STORAGE INC                                         Contract
         5.           ARMORY STREET COLD STORAGE LLC                               Contract
         6.           AT&T                                                         Contract
         7.           AT&T                                                         Contract
         8.           ATMOS ENERGY                                                 Contract
         9.           CHICAGO RABBINICAL                                           Contract
         10.          CINTAS CORP                                                  Contract
         11.          CITY OF CORSICANA                                            Contract
         12.          DEIBEL LABORATORIES                                          Contract
         13.          ESC CONSULTANTS                                              Contract
         14.          GALENA CAPITAL PARTNERS INC                                  Contract
         15.          HEART OF TEXAS                                               Contract
         16.          LUMINANT ENERGY COMPANY LLC                                  Contract
         17.          MERIEUX NUTRISCIENCES                                        Contract
         18.          NEXTLINK INTERNET                                            Contract
         19.          PAYCHEX OF NEW YORK LLC                                      Contract
         20.          PB&H BENEFITS LLC                                            Contract
         21.          PGF OPERATING LLC                                            Contract
         22.          PRESTO-X                                                     Contract
         23.          RELIANT ENERGY                                               Contract
         24.          RENTOKIL                                                     Contract
         25.          REPUBLIC SERVICES #069                                       Contract
         26.          SILLIKER INC                                                 Contract
         27.          STONE TOWER CAPITAL                                          Contract
         28.          STROUD SECURITY SYSTEMS LP                                   Contract
         29.          TAX ADVISORS GROUP LLC                                       Contract
         30.          TRITONCAP LLC                                                Contract
         31.          TXU ENERGY-APT 2B                                            Contract
         32.          VYVE                                                         Contract
         33.          YWRD P C                                                     Contract
         34.          ATG COMPUTER SOLUTIONS LLC                       Maintenance Contract
         35.          AUTOMATED TIME KEEPING INC                       Maintenance Contract
         36.          BARKE GROUP INC THE                              Maintenance Contract
         37.          COMPUTHINK                                       Maintenance Contract
         38.          DUDE SOLUTIONS                                   Maintenance Contract
         39.          FRONTIER COMPUTER CORP                           Maintenance Contract
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         40.     IDV SAFESITE                           Maintenance Contract
         41.     STAY-LINKED CORPORATION                Maintenance Contract
         42.     THOMSON REUTERS TAX & ACCT             Maintenance Contract
         43.     3 M PROCESSING LLC                         Lease Agreement
         44.     AMVT LLC                                   Lease Agreement
         45.     BYLINE FINANCIAL GROUP                     Lease Agreement
         46.     DE LAGE LANDEN FINANCIAL SER.              Lease Agreement
         47.     HERC RENTALS                               Lease Agreement
         48.     JOHN DEERE FINANCIAL                       Lease Agreement
         49.     QUADIENT FINANCE USA INC                   Lease Agreement
         50.     WELLS FARGO EQUIPMENT FINANCE              Lease Agreement
         51.     XEROX FINANCIAL SERVICES                   Lease Agreement
         52.     3M Partners                                Lease Agreement
         53.     U.S. PECAN TRADING CO, LTD.                Lease Agreement
         54.     U.S. PECANS, LTD.                          Lease Agreement
         55.     APPLE VALLEY FOODS                            Sales Contract
         56.     BEST FOOD COMPANY****                         Sales Contract
         57.     C.J. DANNEMILLER COMPANY                      Sales Contract
         58.     CREATIVE SNACKS CO                            Sales Contract
         59.     DUTCH VALLEY FOODS                            Sales Contract
         60.     FANNIE MAY CONFECTIONS                        Sales Contract
         61.     FERVALUE USA INC                              Sales Contract
         62.     FIELDS PIES                                   Sales Contract
         63.     FOCUS BRANDS                                  Sales Contract
         64.     GENERAL MILLS OPERATIONS LLC                  Sales Contract
         65.     GLOBAL BOTTOMLINE                             Sales Contract
         66.     H.P. HOOD                                     Sales Contract
         67.     HORMEL FOODS CORPORATION                      Sales Contract
         68.     INTERNATIONAL DAIRY QUEEN                     Sales Contract
         69.     INTERSNACK PROCUREMENT BV***                  Sales Contract
         70.     KARS NUTS                                     Sales Contract
         71.     KELLOGG COMPANY                               Sales Contract
         72.     KIND HEALTHY SNACKS                           Sales Contract
         73.     KING NUTS&RAAPHORST BV***                     Sales Contract
         74.     LEON'S CANDY                                  Sales Contract
         75.     PECAN DELUXE CANDY CO.                        Sales Contract
         76.     PECAN GROVE MARKETING LLC                     Sales Contract
         77.     PERRY'S ICE CREAM                             Sales Contract
         78.     QUALITY BAKERY PRODUCTS INC                   Sales Contract
         79.     RUSSELL STOVER CANDIES                        Sales Contract
         80.     SANDERS CANDY LLC                             Sales Contract
         81.     STEWARTS PROCESSING                           Sales Contract
         82.     SWEET STREET DESSERTS                         Sales Contract
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         83.     T H FOODS INC.                               Sales Contract
         84.     TABLE TALK INC.                              Sales Contract
         85.     TOYOTA TSUSHO FOODS CORP*****                Sales Contract
         86.     UNILEVER ASCC AG                             Sales Contract
         87.     V BESANA SPA****                             Sales Contract
         88.     A. L. SCHUTZMAN                              Sales Contract
         89.     ALBANESE CONFECTIONARY                       Sales Contract
         90.     APPLE VALLEY FOODS                           Sales Contract
         91.     ASPIRE BAKERIES LLC                          Sales Contract
         92.     BILL MILLER BAR-B-QUE                        Sales Contract
         93.     CAPITOL FOODS CO LLC                         Sales Contract
         94.     CONAGRA FOODS FSC AP                         Sales Contract
         95.     CREATIVE SNACKS CO                           Sales Contract
         96.     DEAN DAIRY LLC                               Sales Contract
         97.     DELINUTS BV ****                             Sales Contract
         98.     ECO TERRA GMBH*****                          Sales Contract
         99.     FERRARA CANDY COMPANY                        Sales Contract
         100.    FIELDS PIES                                  Sales Contract
         101.    FOCUS BRANDS                                 Sales Contract
         102.    GENERAL MILLS OPERATIONS LLC                 Sales Contract
         103.    H.P. HOOD                                    Sales Contract
         104.    INTERNATIONAL DAIRY QUEEN                    Sales Contract
         105.    KRAFT HEINZ FOOD COMPANY                     Sales Contract
         106.    KROGER - CALM                                Sales Contract
         107.    KROGER PROCESSING / PRGX                     Sales Contract
         108.    RASC MANUFACTURING AP                        Sales Contract
         109.    NIDA TRADING CORP                            Sales Contract
         110.    NUTTOS PEANUT & POPCORN                      Sales Contract
         111.    PANERA BREAD                                 Sales Contract
         112.    QUALITY DAIRY                                Sales Contract
         113.    RUSSELL STOVER CANDIES                       Sales Contract
         114.    SIMPLY GOOD FOODS USA                        Sales Contract
         115.    STEWARTS PROCESSING                          Sales Contract
         116.    TABLE TALK INC.                              Sales Contract
         117.    THE KROGER CO. BU                            Sales Contract
         118.    TOTALLY NUTS & MORE INC**                    Sales Contract
         119.    TREEHOUSE PRIVATE BRANDS                     Sales Contract
         120.    TROPHY NUT                                   Sales Contract
         121.    UNILEVER ASCC AG                             Sales Contract
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Fill in this information to identify the case:

Debtor name      Navarro Pecan Company, Inc.

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS

Case number (if known)    23-40266-11
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Collin Street                                                                        Hillcrest Bank                  D       2.2
          Bakery                                                                                                                E/F
                                                                                                                               G



   2.2    Estate of George                                                                     Hillcrest Bank                  D       2.2
          Martin                                                                                                                E/F
                                                                                                                               G



   2.3    Mary M. Magers                                                                       Deere & Company                 D       2.1
                                                                                                                                E/F
                                                                                                                               G




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
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Declaration Under Penalty of Perjury for Non-Individual Debtors




        Declaration and signature




    X    Schedule A/B: Assets–Real and Personal Property

    X    Schedule D: Creditors Who Have Claims Secured by Property

    X    Schedule E/F: Creditors Who Have Unsecured Claims

    X    Schedule G: Executory Contracts and Unexpired Leases

    X    Schedule H: Codebtors

    X    Summary of Assets and Liabilities for Non-Individuals

                   Schedule


         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders


                                                   __________________________________________________________________________________




                 02/15/2023
                 ______________                           /s/ Brad Walker
                                                        _________________________________________________________________________




                                                         Brad Walker
                                                        ________________________________________________________________________


                                                        CRO
                                                        ______________________________________
